  Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 1 of 10




Exhibit F
      Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 2 of 10



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                                                                   Candace Fisher
                                                          SANDERS COUNTY CLE~ OF DJSTRICT COURT
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MONTANA SEVENTH .JUDICIAL DISTRICT COURT, SANDERS COUNTY

ALEXIS NUNEZ,
                      Plaintiff,                       Cause No. DV-16-084
vs.
WATCHTOWER BIBLE AND                                ORDER ENFORCING
TRACT SOCIETY OF NEW YORK,                          MAY 26 2021 ORDER.
INC.· CHRISTIAN                                    ASSESSffiG SANCTIONS
CONGREGATION OF JEHOVAH'S                          AND ATTORNEY'S FEES
WITNESSES and THOMPSON
FALLS CONGREGATION OF
JEHOVAH'S WITNESSES,
                      Defendants.

WATCHTOWER BIBLE AND
TRACT SOCIETY OF NEW YORK,
INC.· CHRISTIAN
CONGREGATION OF JEHOVAH'S
WllNESSES and THOMPSON
FALLS CONGREGATION OF
JEHOVAH'S WITNESSES.
               Third-Party Plaintiffs,
vs.
IVY MCGOWAN-CASTLEBERRY,
               Third-Party Defendant.


       This Court issued Orders on May 28, 2021 (Doc. 210) and on June 23, 2021

(Doc. 214) in which it set forth relevant law on discovery and its expectations of all


              Nunez v. Watchto\\'er- Order Assessing Sanctions and Fees - 1
    Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 3 of 10



parties during discovery. The May 28, 2021, Order compelled production of certain

specific documents by Watchtower. Watchtower not only flouted its disobedience

of that Order, in subsequent pleadings it asserted that an order issued by Judge

Manley (Doc. 116) was the "law of the case" and that, therefore, it is "confused"

about this Court's orders, and seeks "guidance" before producing documents the

Court has ordered produced. The Court finds Watchtower's arguments to be

frivolous and specious, interposed solely to obstruct and delay.

      Based on the Court's review of Watchtower's documents submitted for in

camera review, the Court immediately recognized Watchtower's obstruction and

issued another Order, this time assessing sanctions. (Doc. 214). Watchtower defied

that Order and continues to refuse to produce 22 pages of documents, and

unabashedly misrepresents the truth. As to documents the Court expressly ordered

it to produce, Watchtower asserts that it complied and is simply waiting for the Court

to address its embellished claims of privilege, and its "confusion" and its claim that

a previous order issued by Judge Manley, before the first trial, supersedes this

Court's Orders.

      Watchtower's representations raise other very serious concerns about its

candor with the Court from the outset. Before the Court's first Order of May 28,

2021, cowisel Joel Taylor (Taylor), on behalf of Watchtower, signed and filed an




              Nunez v. Watchtower - Order Assessing Sanctions and Fees - 2
    Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 4 of 10



affidavit1 in which he represented, inter alia, that the fourth page of one document

at issue "contains no information." The document, later reluctantly produced,

contains information about Max Reyes abusing Peter McGowan, and notably

contains blank spaces in response to a question, "Efforts to protect the victim?"

which is obviously potentially probative of Nunez's claims of breach of a duty to

protect minors. Failure to answer such a question is, actually, "information," which

is apparent to any competent lawyer.

      Likewise, Watchtower initially opposed the Motion to Compel by

representing that withheld documents were "unrelated" to previously disclosed

documents, and Taylor attested to the truth of this representation in his affidavit. It

is clear that this representation was false. Documents la and 1b relate to Max's

abuse of Peter and Holly beginning in 1994.2 Watchtower pretended, in its initial

briefing, not to understand the term, "database."                    It turns out, from the few

documents now produced, that they were indeed part of an "electronic database" -

in Watchtower's own words. (Defendant's Brief in Opposition to Plaintiff's Moton

to Compel, Doc. 208).

      Nunez's discovery requests were based on an email from Watchtower lawyer

Taylor, in which he described them as "the other 7 pages involve Peter/Alexis" and




      1 Taylor Affidavit, May 7, 2021, Ex. H to Plaintiffs' brief.
      2 Documents filed under seal as Sealed Ex. B.

                 Nuiiez v. Watchtower - Order Assessing Sanctions and Fees - 3
      Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 5 of 10



"the remaining pages involve Peter Jr. 's confession [to] the Polson Congregation

regarding his abuse of Alexis." 3

        After the Court's first order to produce the documents, Watchtower produced

only seven pages of documents, none of which relate to Peter abusing Alexis.

Rather, the produced documents relate to evidence already known to Nunez, the

abuse of Peter, Holly, and Alexis by Max Reyes. The missing pages regarding

Peter's abuse of Alexis have not been produced at all. In sum, then, Watchtower has

misrepresented to the Court that it has even partially complied with the Court's

Order.

         On June 11, 2021 4 ( after the May 28, 2021, Order), Watchtower identified an

additional 22 pages of documents that had, until that date, never been disclosed to

Nunez or the Court.5 Simultaneously, it filed a new and improved privilege log

listing documents in random order, many of which clearly refer to evidence of Peter

abusing Alexis, which the Court had ordered produced. Appallingly, Watchtower

continues to withhold documents about Peter's abuse of Alexis, and appears to be

attempting a sleight of hand by offering a modified privilege log.




         3 Quoted passages are from an email authored by Taylor to Nunez's lawyers in 2018, attached to Nuftez's
briefing as Ex. A.
         4 Watchtower filed two different sets of documents, with the same title, "Notice of Submission for In Camera
Review on June 11, 2021, as well as a supplemental privilege log, identifying 22 pages of newly disclosed documents.
Ex. F to Nunez's briefing.
          s Notice of Sub. for In Camera, attached as Ex. F to Nunez's briefing.

                    Nunez v. Watchtower - Order Assessing Sanctions and Fees - 4
     Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 6 of 10



      Watchtower has reasserted its claims of privilege, ignored the Court's Order

overruling those claims, asserted "confusion" and lack of understanding of the

Orders [asserting that it does not ''understand" whether the Court's Orders apply to

congregations, even though they briefed that very issue and claimed privilege for

congregations starting in February 2021], and simultaneously inconsistently asked

the Court to alter or amend Orders which it feigns not to understand. These

arguments are frivolous, neither based on fact or law, and will not be tolerated, as

the Court has previously warned. Watchtower's defiance is breathtaking and must,

as the Montana Supreme Court has often said, not be dealt with leniently. Instead,

courts are instructed to "intently punish transgressors rather than patiently

encouraging their cooperation." Morris v. Big Sky Thoroughbred Farms, 1998 MT

229, ,I13, 291 Mont. 29, 965 P. 2d 890 (citations omitted).

      Rule 37 (b)(2), Mont. R. Civ. P., authorizes sanctions for violations ofan order

compelling discovery. Sanctions may include judgment by default, "where counsel

or a party has acted willfully or in bad faith [in violating rules or court orders or] ....

in flagrant disregard of those rules." Kraft v. High Country Motors, Inc., 2012 MT

83, ,r37, 364 Mont. 465, 276 P. 3d 908. The Court has discretion to detennine

whether a party has chosen to "callously disregard" their opponents' rights and to

determine appropriate sanctions. Linn v. Whitaker, 2007 MT 46, ,rI3, 336 Mont.

131, 152 P. 3d 1282. The Montana Supreme Court expressly approved judgment by


               Nuiiez v. Watchtower - Order Assessing Sanctions and Fees - S
    Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 7 of 10



default as a sanction in the face ofblatant, systematic "willful and bad faith conduct."

Richardson v. State, 2006 MT 43, ,I23, 331 Mont. 231, 130 P. 3d 634.

      The Court concludes that Watchtower has been deliberate in its violations of

the Court's orders, and the Plaintiffs' right to discovery. Its claims that it could not

understand the plain language in the Court's orders are absurd and frivolous. Its

decision to obstruct has wasted many hours of scarce time and resources for the

Plaintiffs, and for the Court itself, and has prevented Nunez from preparing for trial,

which is obviously Watchtower's intent. Every time a party chooses attrition and

stonewalling, not only the opposing party in the case involved, but parties in

numerous other cases lose opportunities to exercise their fundamental right to access

to the Courts.

      Second chances for discovery abuse are not to be encouraged. Spotted Horse

v. BNSF Railway Co., 2015 MT 148, ,r 21, 379 Mont. 314, 320, 350 P. 3d 52. To

ensure compliance, " ... the price for dishonesty must be made unbearable to thwart

the inevitable temptation that zealous advocacy inspires." Schuffv. A. T. Klemens &

Son, 2000 MT 357, 171, 303 Mont. 274, 16 P. 3d 1002. "[I]t is the attitude of

unresponsiveness to the judicial process, regardless of the intent behind that attitude,

which warrants sanctions." McKenzie v. Scheeler, 285 Mont. 500, 508; 949 P. 2d

1168 (1997).       The Court expressly warned that it, "will not tolerate further




                 Nuiiez v. Watchtower - Order Assessing Sanctions and Fees - 6
    Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 8 of 10



obstruction and will consider sanctions for similar conduct in the future." (Doc.

210).

        While the Court is tempted to assess default judgment in light of the flagrance

and felicity with which Watchtower willfully obstructed justice and wasted judicial

resources, it is also mindful of the importance of trial by a jury on the merits.

Richardson, ,r68.      The Court therefore has considered a sanction which, while

preserving a trial on the merits, relates to the extent and nature of the discovery

abuse, relates to the prejudice the abuse caused to the Plaintiffs, and is consistent

with the Court's explicit warning. See, Linn v. Whitaker, 2007 MT 46, ,20, 336

Mont. 131, 152 P. 3d 1282. Among available sanctions, the Court considers fees

and costs, deeming some of Nunez's claims to have been established, foreclosing

certain defenses or claims by Watchtower, or a combination. See, Rule 37 (c)(l),

37(d)(3), 37(b)(2)(A)(i) and (ii), Mont. R. Civ. P.

        The Court ordered: "Defendants shall immediately respond to the following

discovery requests: Requests for Production 2-8 and Interrogatory No. I, except for

the "erroneous" page containing the name of Anthony Montoya." Watchtower's

refusal to comply, its lack of candor with the Court, and its frivolous and

disrespectful treatment of the purpose of discovery and justice itself cannot be

condoned or further tolerated.




                Nunez v. Watchtower-Order Assessing Sanctions and Fees -7
    Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 9 of 10



      Out of respect for juries and the rights of citizens to access to the courts, the

Court at this time reluctantly declines to grant judgment on liability. However, it

follows the guidance of the Montana Supreme Court and will not tolerate this level

of discovery abuse, and will strongly consider the ultimate sanction of judgment on

liability. Defendants are ORDERED to produce all withheld discovery, including

any that they continue to claim is privileged, and including the 22 pages still in

dispute. Further, the Court ORDERS SANCTIONS as follows:

      1. Watchtower and all Defendants are prohibited from arguing, making

         innuendo, mentioning, offering evidence of any "advice of counsel"

         defense, and from offering any evidence about the advice their attorneys

         gave them at any time before trial.

      2. Watchtower and all Defendants are prohibited from offering any evidence

         that they believed that they were "complying with,, any law, regulation, or

         interpretation of law by any person, including their lawyers, when they

         failed or refused to protect Plaintiff from Max Reyes' s abuse.

      3. Watchtower and all Defendants shall be jointly and severally liable for a

         fine of $500 per day for each day after the date of this Order in which they

         have failed and refused to comply with this Order, and the Orders dated

         May 28, 2021, and June 23, 2021.




              Nunez v. Watchtower - Order Assessing Sanctions and Fees - 8
                                         Case 1:20-cv-00052-SPW Document 366-6 Filed 04/19/24 Page 10 of 10



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